
663 S.E.2d 858 (2008)
STATE of North Carolina
v.
Joshua David SMITH.
No. 234A08.
Supreme Court of North Carolina.
June 11, 2008.
Chris Z. Sinha, Assistant Attorney General, Rick Shaffer, District Attorney, for State ofNC.
Kirby H. Smith, New Bern, for Smith.
Prior report: ___ N.C.App. ___, 660 S.E.2d 82.

ORDER
Upon consideration of the petition filed by State of NC on the 22nd day of May 2008 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 11th day of June 2008."
